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 Notice of Appeal Criminal                                                                  Rev. 3/88



           United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                           )
                                                    )
                       vs.                          )        Criminal No. 22-cr-15 (APM)
                                                    )
  JESSICA WATKINS                                   )


                                      NOTICE OF APPEAL


Name and address of appellant:                     United States of America




Name and address of appellant’s attorney:          Jeffrey Nestler, Assistant US Attorney
                                                   Office of the US Attorney for DC
                                                   601 D Street, NW Room 5.1501
                                                   Washington, DC 20253

Offense:   18 USC Sec. 1512(k); 18 USC Secs. 1512(c)(2) and 2; 18 USC Sec. 372; 18 USC Secs. 231(a)(3) and 2

Concise statement of judgment or order, giving date, and any sentence:
     Sentence imposed on May 26, 2023 (judgment entered on the docket on June 12,
     2023), sentencing defendant to a total of 102 months' imprisonment, followed by a total
     of 36 months' supervised release; assessment of $400.00
Name and institution where now confined, if not on bail: DC Jail/CTF


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
                July 12, 2023                        United States of America
 DATE                                               APPELLANT
                                                         Jeffrey Nestler
                                                    ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE         ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                          YES           NO ✔
Has counsel ordered transcripts?                                YES ✔         NO
Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES           NO ✔
